 8:08-cr-00222-LSC-TDT        Doc # 57     Filed: 10/29/08    Page 1 of 1 - Page ID # 185




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )           8:08CR222
                                                  )
       vs.                                        )             ORDER
                                                  )
EDDIE GARCIA,                                     )
                                                  )
                     Defendant.                   )


       This matter is before the court on motion of defendant Eddie Garcia (Garcia) to
extend the time for filing a post-hearing brief (Filing No. 56). Garcia’s counsel represents
that government’s counsel has no objection to the motion. The motion will be granted.


       IT IS ORDERED:
       1.     Garcia’s motion to extend the post-briefing deadline (Filing No. 56) is granted.
Garcia is given until October 31, 2008, in which to file his post-hearing brief.
       2.     The government is given until November 12, 2008, in which to respond.
       DATED this 29th day of October, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
